Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 1 of 18 PageID #: 43883




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 GENBAND US LLC                                  §
                                                 §
        v.                                       §
                                                           Case No. 2:14-cv-33-JRG-RSP
                                                 §
 METASWITCH NETWORKS CORP., ET                   §
 AL.                                             §

  REPORT AND RECOMMENDATION ON MOTIONS FOR SUMMARY JUDGMENT

        Before the Court are two Summary Judgment Motions filed by Defendants Metaswitch

 Networks Ltd and Metaswitch Networks Corp. (collectively “Metaswitch”): Motion for

 Summary Judgment of No Willful Infringement and No Indirect Infringement (Dkt. No. 254);

 Motion for Summary Judgment of Invalidity under 35 U.S.C. § 101 (Dkt. No. 255).

 I. LAW

 A. Summary Judgment

        Summary judgment should be granted “if the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

 Fed. R. Civ. P. 56(a). Any evidence must be viewed in the light most favorable to the

 nonmovant. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986) (citing Adickes v.

 S.H. Kress & Co., 398 U.S. 144, 158–59 (1970)). Summary judgment is proper when there is no

 genuine issue of material fact. Celotex v. Catrett, 477 U.S. 317, 322 (1986). “By its very terms,

 this standard provides that the mere existence of some alleged factual dispute between the parties

 will not defeat an otherwise properly supported motion for summary judgment; the requirement

 is that there be no genuine issue of material fact.” Anderson, 477 U.S. at 247–48. The substantive

 law identifies the material facts, and disputes over facts that are irrelevant or unnecessary will

 not defeat a motion for summary judgment. Id. at 248. A dispute about a material fact is

                                                 1
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 2 of 18 PageID #: 43884




 “genuine” when the evidence is “such that a reasonable jury could return a verdict for the

 nonmoving party.” Id.

        The moving party must identify the basis for granting summary judgment and identify the

 evidence demonstrating the absence of a genuine issue of material fact. Celotex, 477 U.S. at 323.

 If the moving party does not have the ultimate burden of persuasion at trial, the party “must

 either produce evidence negating an essential element of the nonmoving party’s claim or defense

 or show that the nonmoving party does not have enough evidence of an essential element to carry

 its ultimate burden of persuasion at trial.” Nissan Fire & Marine Ins. Co., Ltd. v. Fritz Cos., Inc.,

 210 F.3d 1099, 1102 (9th Cir. 2000). “As a general rule, summary judgment is inappropriate

 where an expert’s testimony supports the non-moving party’s case.” Vasudevan Software, Inc. v.

 MicroStrategy, Inc., 782 F.3d 671, 683 (Fed. Cir. 2015) (quoting Provenz v. Miller, 102 F.3d

 1478, 1490 (9th Cir. 1996)).

 B. Indirect Infringement

        A claim for induced infringement under 35 U.S.C. § 271(b) requires proof (1) of an act of

 direct infringement by another, and (2) that the defendant knowingly induced the infringement

 with the specific intent to encourage the other’s infringement. MEMC Elec. Materials, Inc. v.

 Mitsubishi Materials Silicon Corp., 420 F.3d 1369, 1378 (Fed. Cir. 2005). The intent element

 requires that the defendant “[know] that the induced acts constitute patent infringement.” Global-

 Tech Appliances, Inc. v. SEB S.A., 131 S. Ct. 2060, 2068 (2011); see also DSU Med. Corp. v.

 JMS Co., 471 F.3d 1293, 1306 (Fed. Cir. 2006) (“[I]nducement requires that the alleged infringer

 knowingly induced infringement and possessed specific intent to encourage another’s

 infringement.’’). A defendant’s subjective belief that the asserted patent is invalid is not a

 defense to induced infringement. Commil USA, LLC v. Cisco Sys., 135 S. Ct. 1920, 1928 (2015).



                                                  2
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 3 of 18 PageID #: 43885




        A plaintiff claiming contributory patent infringement under 35 U.S.C. § 271(c) must

 prove (1) an act of direct infringement, (2) that the defendant “knew that the combination for

 which its components were especially made was both patented and infringing,” and (3) that the

 components have “no substantial non-infringing uses.” Cross Med. Prods., Inc. v. Medtronic

 Sofamore Danek, Inc., 424 F.3d 1293, 1312 (Fed. Cir. 2005). “Like induced infringement,

 contributory infringement requires knowledge of the patent in suit and knowledge of patent

 infringement.” Commil, 135 S. Ct. at 1928.

 C. Subject Matter Eligibility

        Section 101 of the Patent Act defines what is eligible for patent protection: “Whoever

 invents or discovers any new and useful process, machine, manufacture, or composition of

 matter, or any new and useful improvement thereof, may obtain a patent therefor, subject to the

 conditions and requirements of this title.” 35 U.S.C. § 101.

        The Supreme Court has held that there are three specific exceptions to patent eligibility

 under § 101: laws of nature, natural phenomena, and abstract ideas. Bilski v. Kappos, 561 U.S.

 593, 601 (2010). In Mayo, the Supreme Court set out a two-step test for “distinguishing patents

 that claim laws of nature, natural phenomena, and abstract ideas from those that claim patent-

 eligible applications of those concepts.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347,

 2355 (2014) (citing Mayo Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1296–

 97 (2012)).

        The first step of Mayo requires a court to determine if the claims are directed to a law of

 nature, natural phenomenon, or abstract idea. Alice, 134 S. Ct. at 2355. “If not, the claims pass

 muster under § 101.” Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 714 (Fed. Cir. 2014). In

 making this determination, the court looks at what the claims cover. Ultramercial, 772 F.3d at



                                                  3
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 4 of 18 PageID #: 43886




 714 (“We first examine the claims because claims are the definition of what a patent is intended

 to cover.”); Intellectual Ventures I LLC v. Capital One Bank (USA), 792 F.3d 1363, 1369 (Fed.

 Cir. 2015) (“At step one of the Alice framework, it is often useful to determine the breadth of the

 claims in order to determine whether the claims extend to cover a ‘fundamental … practice long

 prevalent in our system ….’”) (quoting Alice, 134 S. Ct. at 2356).

        For example, in Bilski, the Supreme Court rejected as a patent-ineligible “Claims 1 and 4

 in petitioners’ application” because the claims simply “explain[ed] the basic concept of hedging,

 or protecting against risk.” Bilski, 561 U.S. at 611. Similarly, in Ultramercial, the Federal Circuit

 rejected as patent-ineligible a claim that included “eleven steps for displaying an advertisement

 in exchange for access to copyrighted media.” Ultramercial, 772 F.3d at 714. In Intellectual

 Ventures, the Federal Circuit rejected as a patent-ineligible a claim that recited components that

 “relate[d] to customizing information based on (1) information known about the user and (2)

 navigation data.” Intellectual Ventures, 792 F.3d at 1369.

        A court applies the second step of Mayo only if it finds in the first step that the claims are

 directed to a law of nature, natural phenomenon, or abstract idea. Alice, 134 S. Ct. at 2355. The

 second step requires the court to determine if the elements of the claim individually, or as an

 ordered combination, “transform the nature of the claim” into a patent-eligible application. Alice,

 134 S. Ct. at 2355. In determining if the claim is transformed, “[t]he cases most directly on point

 are Diehr and Flook, two cases in which the [Supreme] Court reached opposite conclusions

 about the patent eligibility of processes that embodied the equivalent of natural laws.” Mayo

 Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1298 (2012); see also Alice, 134

 S. Ct. at 2355 (“We have described step two of this analysis as a search for an ‘inventive

 concept.’”).



                                                  4
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 5 of 18 PageID #: 43887




        In Diehr, the Court “found [that] the overall process [was] patent eligible because of the

 way the additional steps of the process integrated the equation into the process as a whole.”

 Mayo, 132 S. Ct. at 1298 (citing Diamond v. Diehr, 450 U.S. 175, 187 (1981)); see also Mayo,

 132 S. Ct. at 1299 (“It nowhere suggested that all these steps, or at least the combination of those

 steps, were in context obvious, already in use, or purely conventional.”). In Flook, the Court

 found that a process was patent-ineligible because the additional steps of the process amounted

 to nothing more than “insignificant post-solution activity.” Diehr, 450 U.S. at 191–92 (citing

 Parker v. Flook, 437 U.S. 584 (1978)).

        A claim may become patent-eligible when the “claimed process include[s] not only a law

 of nature but also several unconventional steps … that confine[] the claims to a particular, useful

 application of the principle.” Mayo, 132 S. Ct. at 1300; see also DDR Holdings, LLC v.

 Hotels.com, L.P., 773 F.3d 1245, 1257 (Fed. Cir. 2014) (“In particular, the ’399 patent’s claims

 address the problem of retaining website visitors that, if adhering to the routine, conventional

 functioning of Internet hyperlink protocol, would be instantly transported away from a host’s

 website after ‘clicking’ on an advertisement and activating a hyperlink.”). A claim, however,

 remains patent-ineligible if it describes only “‘[p]ost-solution activity’ that is purely

 ‘conventional or obvious.’” Mayo, 132 S. Ct. at 1299.

 II. WILLFUL INFRINGEMENT AND PRE-FILING INDIRECT INFRINGEMENT

        Metaswitch seeks summary judgment of no willful infringement and no indirect

 infringement. (Dkt. No. 254). Plaintiff Genband US LLC (“Genband”) concedes in its response:

        At this time, Genband does not oppose Metaswitch Networks Ltd. and
        Metaswitch Networks Corp.’s (collectively “Metaswitch”) motion for summary
        judgment on the issues of pre-filing or post-filing willful infringement and pre-
        filing indirect infringement.

 Dkt. No. 284 at 5

                                                  5
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 6 of 18 PageID #: 43888




        Accordingly, the Court recommends that partial summary judgment of no willful

 infringement be GRANTED. The Court recommends that partial summary judgment of no

 indirect infringement prior to the filing date of this action be GRANTED.

 III. POST-FILING INDIRECT INFRINGEMENT

        Metaswitch seeks summary judgment on the issue of post-suit indirect infringement,

 namely induced infringement under 35 U.S.C. § 271(b) and contributory infringement under

 § 271(c). (Dkt. No. 254 at 23–26). Metaswitch advances two grounds for granting summary

 judgment.

        First, Metaswitch argues it is entitled to summary judgment “because Genband has failed

 to establish an act of direct infringement by any Metaswitch customer.”1 (Id. at 25–26).

 Metaswitch contends that Genband’s infringement expert, Dr. Beckmann, has failed to identify

 any specific direct infringer or any specific act of direct infringement. Metaswitch faults Dr.

 Beckmann for basing his opinions entirely on circumstantial evidence of direct infringement

 such as Metaswitch product manuals and the deposition testimony of Metaswitch employees

 regarding customer support. (Dkt. 297 at 8–10). Metaswitch repeatedly criticizes the evidence

 upon which Dr. Beckmann relies for failing to identify “specific examples” of infringement, i.e.

 direct evidence of direct infringement. (Id. at 9).

        Proof of indirect infringement requires proof of direct infringement. Dynacore Holdings

 Corp. v. U.S. Philips Corp., 363 F.3d 1263, 1272 (Fed. Cir. 2004). It is well-settled that “[d]irect

 infringement can be proven by circumstantial evidence.” Toshiba Corp. v. Imation Corp., 681

 F.3d 1358, 1364 (Fed. Cir. 2012); see also Moleculon Research Corp. v. CBS, Inc., 793 F.2d

 1
   Metaswitch misstates the burden of proof for indirect infringement as “clear and convincing
 evidence.” (Dkt. No. 254 at 24.) Infringement is established by a preponderance of the evidence.
 See, e.g., Siemens Med. Solutions USA, Inc. v. Saint-Gobain Ceramics & Plastics, Inc., 637 F.3d
 1269, 1279 (Fed. Cir. 2011).
                                                   6
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 7 of 18 PageID #: 43889




 1261, 1272 (Fed. Cir. 1986) (“Circumstantial evidence is not only sufficient, but may also be

 more certain, satisfying and persuasive than direct evidence.”).

         Genband does not dispute that its direct infringement evidence is circumstantial. (Dkt.

 No. 284 at 9). Therefore the relevant question is whether Genband has adduced sufficient

 circumstantial evidence of direct infringement to raise a genuine issue of material fact.

 Genband’s circumstantial evidence includes: (1) Metaswitch product manuals that allegedly

 “instruct[] Metaswitch’s customers on how the use the accused products in an infringing

 manner” and (2) deposition testimony regarding Metaswitch’s testing and customer support

 activities. (Dkt. No. 284 at 9–10). Genband’s expert, Dr. Beckmann, analyzes this evidence in

 his report2 (excerpts at Dkt. Nos. 254-24; 284-2; 315-2) and concludes that this evidence shows

 direct infringement by Metaswitch customers. Dr. Beckmann opines that Metaswitch’s manuals

 instruct customers how to use the accused products in an infringing manner. See, e.g. (Dkt. No.

 315-2 at ¶¶ 637, 640, 643, 698). He also opines that Metaswitch engages in testing and support to

 assist and monitor its customers’ infringing use of its products. See, e.g. (Dkt. No. 284-2 at

 ¶¶ 1224–1231). Relying on this evidence, Dr. Beckman opines “Metaswitch’s customers directly

 infringe.” (Id. at ¶ 1223).

         This circumstantial evidence, viewed in the light most favorable to the non-movant, could

 permit a reasonable jury to find direct infringement. See Toshiba Corp. v. Imation Corp., 681

 F.3d 1358, 1365 (Fed. Cir. 2012) (“This is not the first time we have concluded that where an

 alleged infringer designs a product for use in an infringing way and instructs users to use the

 product in an infringing way, there is sufficient evidence for a jury to find direct infringement.”).

 Moreover Genband’s direct infringement arguments are supported by the opinion of a qualified

 2
  Metaswitch moved to strike many of Dr. Beckmann’s opinions. (Dkt. No. 256). This request
 will be addressed in a separate order.
                                                  7
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 8 of 18 PageID #: 43890




 expert, giving rise to a genuine fact dispute. See Vasudevan Software, 782 F.3d at 683 (“As a

 general rule, summary judgment is inappropriate where an expert’s testimony supports the non-

 moving party’s case.”).

        Second, Metaswitch argues that Genband cannot prove the requisite state of mind—

 Metaswitch knew or was willfully blind to its customers’ alleged infringement of Genband’s

 patents. (Dkt. No. 254 at 23–25). Metaswitch notes that Genband’s experts have not opined

 Metaswitch subjectively believed the accused products infringe. Instead, Metaswitch argues its

 non-infringement positions in this litigation are evidence that it believes its products do not

 infringe. Metaswitch points to its answer to Genband’s complaint denying infringement, its

 noninfringement expert reports, its letter to Genband’s counsel denying infringement, and its

 interrogatory answers as evidence of its state of mind. (Dkt. No. 297 at 11–12).

        Metaswitch also advances the related argument that Genband cannot show “Metaswitch

 specifically intended to encourage any third party to infringe Genband’s patents,”3 but

 Metaswitch premises this argument on the same contention: Genband cannot prove that

 Metaswitch knew or was willfully blind to infringement and therefore Genband cannot prove

 Metaswitch intended to cause infringement. (Dkt. No. 254 at 24; Dkt. No. 297 at 10–13).

        The mere fact that Metaswitch has raised and maintained non-infringement defenses in

 this litigation does not suffice to entitle it to summary judgment, else indirect infringement

 claims would never be tried to a jury. While Metaswitch’s non-infringement defenses are

 relevant evidence of its state of mind, the essential inquiry at the summary judgment stage is not

 3
   Metaswitch represents that “[i]ndirect infringement requires specific intent to encourage
 another’s infringement.” (Dkt. No. 254 at 23). This is not strictly correct; only induced
 infringement, not contributory infringement, requires a showing of specific intent to encourage
 infringement. See, e.g. DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1305 (Fed. Cir. 2006).
 However, both forms of indirect infringement require proof of “knowledge of the patent in suit
 and knowledge of patent infringement.” Commil, 135 S. Ct. at 1928.
                                                 8
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 9 of 18 PageID #: 43891




 whether evidence supports the movant, but whether the nonmovant has adduced sufficient

 evidence to permit a reasonable jury to find in its favor. See Anderson, 477 U.S. at 255 (“The

 evidence of the nonmovant is to be believed, and all justifiable inferences are to be drawn in his

 favor.”).

        “Intent can be shown by circumstantial evidence, but the mere knowledge of possible

 infringement will not suffice.” Vita-Mix Corp. v. Basic Holding, Inc., 581 F.3d 1317, 1328 (Fed.

 Cir. 2009). Metaswitch does not dispute that it knew of the asserted patents after the filing date

 of this lawsuit. It is also undisputed that Genband served infringement contentions on

 Metaswitch April 14, 2014, mapping Genband’s infringement theories for each asserted claim.4

 Drawing all reasonable inferences in Genband’s favor, a reasonable jury could conclude that

 Metaswitch possessed the requisite “knowledge of the patent in suit and knowledge of patent

 infringement” (or possessed the requisite willful blindness) after it received Genband’s

 infringement contentions. Commil, 135 S. Ct. at 1928. Namely, a jury could believe that

 Genband’s infringement theories are correct and that they were communicated to Metaswitch in

 Genband’s infringement contentions. From this circumstantial basis, a jury could conclude that

 Metaswitch knew its products infringed or that it was willfully blind.5



 4
   Metaswitch argues in its Reply that Genband’s infringement contentions were deficient in
 certain respects. (Dkt. No. 297 at 12). However, Metaswitch did not bring these alleged
 deficiencies to the attention of the Court prior to the filing of its Reply Brief and has therefore
 waived its argument that Genband’s contentions fail to satisfy Pat. L.R. 3–1. Cf. Orion IP, LLC
 v. Staples, Inc., 407 F. Supp. 2d 815, 818 (E.D. Tex. 2006) (“[D]efendants also have a
 responsibility to make sure they fully understand the nature of plaintiffs’ allegations. A
 defendant cannot lay behind the log until late in the case and then claim it lacks notice as to the
 scope of the case or the infringement contentions.”). Moreover, it is ultimately a question of fact
 whether Genband’s contentions are sufficient to give rise to an inference of knowledge or willful
 blindness on the part of Metaswitch.
 5
   Genband also identifies, as evidence of intent, Metaswitch’s delay in responding to a contention
 interrogatory on the issue of non-infringement, which Genband served April 16, 2014 and to
 which Metaswitch allegedly did not substantively respond until May 5, 2015. (Dkt. No. 284 at
                                                 9
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 10 of 18 PageID #: 43892




        This holding does not run afoul of Vita-Mix’s admonition that “the mere knowledge of

 possible infringement will not suffice.” Vita-Mix, 581 F.3d at 1328. The Vita-Mix Court did not

 hold that the requisite knowledge can be shown at trial only where infringement is uncontested

 or beyond question. Instead, the Vita-Mix Court held that summary judgment on the issue of

 intent was appropriate because it was “undisputedly possible to use the accused device as

 directed without ever practicing the claimed method.” Id. at 1329. In other words, even crediting

 the Vita-Mix patentee’s infringement theories as true, the Defendant could still reasonably

 believe that no users were directly infringing. Here, Metaswitch has not argued that infringement

 is merely “possible” if Genband’s infringement theories are taken as true.

        Finally, Metaswitch argues for the first time in its Reply that “Genband has not

 shown . . . the DC-SBC [accused product] is ‘especially made or especially adapted for use in an

 infringement.’” (Dkt. No. 297 at 13–14). This argument was not raised in Metaswitch’s opening

 brief. Furthermore, Dr. Beckmann offers opinions from which a reasonable jury could conclude

 that the DC-SBC is made to operate in combination with a media packet forwarder, is especially

 adapted to work with this component, and infringes when the two are combined. (Dkt. No. 315-2

 at ¶¶ 314, 335).

        For the foregoing reasons, the Court recommends that partial summary judgment of no

 indirect infringement after the date Genband served its preliminary infringement contentions


 12). The Court does not give weight to this evidence for two reasons. First, the Court will not
 permit the jury to consider the timing of a party’s interrogatory responses absent special
 circumstances such as an adverse inference instruction. Such evidence would be far more
 prejudicial than probative. Genband has neither requested nor received an adverse inference
 sanction on this issue. Second, the Federal Rules contemplate that contention interrogatories
 need not necessarily be answered early in a case. See Fed. R. Civ. Proc. 33(a)(2); see also Rule
 33 advisory committee’s note (1970 amendment, subdivision (b)) (“Since interrogatories
 involving mixed questions of law and fact may create disputes between the parties which are best
 resolved after much or all of the other discovery has been completed, the court is expressly
 authorized to defer an answer”).
                                                10
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 11 of 18 PageID #: 43893




 (April 14, 2014) be DENIED. The Court recommends that partial summary judgment of no

 indirect infringement prior to April 14, 2014 be GRANTED.

 IV. SUBJECT MATTER ELIGIBILITY

        Metaswitch moves for summary judgment that the asserted claims of U.S. Patent No

 6,772,210 (“the ’210 Patent”) and U.S. Patent No 7,047,561 (“the ’561 Patent”) are invalid under

 35 U.S.C. § 101 for failure to claim patent-eligible subject matter. (Dkt. No. 255).

        For the reasons that follow, the Court recommends that summary judgment of invalidity

 under 35 U.S.C. § 101 be DENIED.

 A. The ’210 Patent

        The ’210 Patent is entitled “Method and Apparatus for Exchanging Communications

 Between Telephone Number Based Devices in an Internet Protocol Environment.” Metaswitch

 represents that “[a]ll of the independent claims contain limitations that are substantially similar

 to claim 1.” (Dkt. No. 255 at 6 n.2). Claim 1 is reproduced here:

        1. In an Internet Protocol (IP) communication system having a first network
        coupled to a second network through a gateway, wherein the first network and the
        second network are both IP networks, a method for exchanging communication
        messages between a first telephone number based device in the first network and
        a second telephone number based device in the second network, the first
        telephone number based device having a first address for use in the first network,
        the method comprising:

        allocating a second address for the first telephone number based device for use in
        the second network; and

        performing address translation on communication messages so that the first
        address for the first telephone number based device is used in the first network
        and the second address for the first telephone number based device is used in the
        second network.




                                                 11
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 12 of 18 PageID #: 43894




        Metaswitch argues that the claim preambles are not limiting. (Id. at 15–16, 25).6 For the

 ’210 Patent, this issue was never raised by either party during claim construction. The preamble

 of independent claim 1 provides the antecedent basis for no less than five terms found in the

 body of the claim: “first network,” “second network,” “first telephone number based device,”

 “second telephone number based device,” and “first address.” Eaton Corp. v. Rockwell Int’l Corp.,

 323 F.3d 1332, 1339 (Fed. Cir. 2003) (“When limitations in the body of the claim rely upon and

 derive antecedent basis from the preamble, then the preamble may act as a necessary component of

 the claimed invention.”). Moreover, the lengthy preamble breathes “life, meaning, and vitality”

 into the claim by explaining the structural context of the invention including how the two

 networks are coupled (“through a gateway”) and what types of networks they are (“both IP

 networks”). Catalina Mktg. Int'l v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002)

 (“[A] preamble limits the invention if it recites essential structure or steps, or if it is necessary to

 give life, meaning, and vitality to the claim. Conversely, a preamble is not limiting where a

 patentee defines a structurally complete invention in the claim body and uses the preamble only

 to state a purpose or intended use for the invention.”) (citations omitted). All of these structures

 are “underscored as important by the specification,” providing another clue that the preamble is

 limiting. See Deere & Co. v. Bush Hog, LLC, 703 F.3d 1349, 1358 (Fed. Cir. 2012); see also,

 e.g., ’210 Patent Figs. 1-2, 8, 1:9-2:46, 3:30-4:7. It is abundantly plain that the preamble of claim 1

 is limiting. The preambles of the other asserted independent claims of the ’210 Patent are

 substantially similar and are limiting for the same reasons.




 6
   This Court has already explicitly held that the preambles of the independent claims of the ’561
 Patent are limiting. (Dkt. No. 135 at 18) (“the preambles are limiting”). Metaswitch’s cursory
 footnote indicating that “the preambles of the asserted claims of the ’561 Patent are not limiting”
 is at odds with the Court’s holding. (Dkt. No. 255 at 25 n.10).
                                                   12
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 13 of 18 PageID #: 43895




        Metaswitch argues that the claims of the ’210 Patent are invalid because they are directed

 to an abstract idea—“‘allocating’ (or ‘mapping’) an address within a communication message to

 another address and then performing ‘address translation’ on the message without any reference

 to material (i.e., physical) objects.” (Dkt. No. 255 at 13–14). Metaswitch contends that the claims

 are directed to “mere manipulation of binary data within abstractions called IP packets.” (Id. at

 16–18). Moreover, Metaswitch argues, nothing in the claim “transform[s]” this abstract idea into

 a patent-eligible claim because the claims “merely apply the well-known idea of address

 translation to a particular environment—one that includes ‘telephone number based devices.’”

 (Id. at 19–22). Finally, Metaswitch also argues that the asserted claims of the ’210 Patent fail the

 machine-or-transformation test and that this confirms Metaswitch’s contention that the asserted

 claims are invalid. (Id. at 22-23).

        As an initial matter, the fact that a claim involves the manipulation of binary data does

 not inherently render it abstract. If that were the case, no claim drawn to a digital device could

 ever survive § 101. The important question is whether the claimed “manipulation of binary data”

 is merely a computerized implementation of an abstract concept. CyberSource Corp. v. Retail

 Decisions, Inc., 654 F.3d 1366, 1375 (Fed. Cir. 2011) (“the basic character of a process claim

 drawn to an abstract idea is not changed by claiming only its performance by computers, or by

 claiming the process embodied in program instructions on a computer readable medium”); Mayo

 Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1301 (U.S. 2012) (“simply

 implementing a mathematical principle on a physical machine, namely a computer, was not a

 patentable application of that principle”). Conversely, an invention that “do[es] not merely recite

 the performance of some business practice known from the pre-Internet world along with the

 requirement to perform it on the Internet,” but instead is “rooted in computer technology in order



                                                 13
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 14 of 18 PageID #: 43896




 to overcome a problem specifically arising in the realm of computer networks.” has been held to

 be patent eligible. DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1257 (Fed. Cir.

 2014).

          Likewise, Metaswitch’s focus on “concrete or material objects” is misplaced. (Dkt. No.

 255 at 12). The law does not support a rule that the presence or absence of “concrete or material

 objects” defines the boundary between eligible and ineligible subject matter. Indeed, a claim

 implemented on an apparently “concrete” computer or storage medium may be patent ineligible

 if it merely embodies an abstract idea, whereas an invention as immaterial as software is

 potentially patent-eligible. See In re Bilski, 545 F. 3d 943, 960 n.23 (“we decline to adopt a broad

 exclusion over software or any other such category of subject matter”).

          Claim 1 of the ’210 Patent is not directed to an abstract idea, and it is not drawn to the

 “manipulation of binary data” in an abstract way. Claim 1 is directed to a specific set of

 operations (“allocating a second address” and “performing address translation”) which are

 confined to a particular context (two different telephone number based devices in two different

 networks using two different addresses, connected by a gateway). The utility associated with the

 claimed method is specific to the context recited in the claims—the need to translate message

 addresses between two different IP networks containing two different telephone number based

 devices. See, e.g., ’210 Patent at 3:44–4:7 (describing the problem of IP address non-uniqueness

 in the context of connected public and private VoIP networks, and positing the invention as a

 solution to this problem). The claims of the ’210 Patent do not represent an attempt to capture a

 “building block[] of human ingenuity,” “a method of organizing human activity,” a “fundamental

 truth,” an “idea of itself,” or the like. See Alice, 134 S. Ct. at 2354–56. The claims of the ’210




                                                 14
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 15 of 18 PageID #: 43897




 Patent, like the claims at issue in DDR, address a problem “specifically arising in computer

 networks,” that “does not arise in the ‘brick and mortar’ context.” DDR, 773 F.3d at 1257–58.

         Even if the claim 1 could be fairly characterized as embodying an abstract idea, such as

 the concept of translating one address to another, the claim is patent-eligible because it recites

 “an element or combination of elements . . . sufficient to ensure that the patent in practice

 amounts to significantly more than a patent upon the ineligible concept itself.” Alice, 134 S. Ct. at

 2355. The claim recites a first and second “telephone number based device” operating in two

 different connected “IP networks,” and the claim delimits the context in which the two claimed

 addresses are used (“the first address . . . is used in the first network and the second address . . . is

 used in the second network”). Hence claim 1 is implemented in the context of a non-generic

 computer system, and “improve[s] the functioning of the computer itself.” Alice, 134 S. Ct. at

 2359.   For this same reason, claim 1 passes the machine-or-transformation test; it recites

 machines (telephone number based devices, IP networks, a gateway) that “impose a meaningful

 limit on the scope of a claim” by “play[ing] a significant part in permitting the claimed method

 to be performed.” SiRF Tech., Inc. v. ITC, 601 F.3d 1319, 1333 (Fed. Cir. 2010).

         For the foregoing reasons, Claim 1 of the ’210 Patent is patent-eligible under § 101. The

 Court agrees with Metaswitch that Claim 1 is representative for purposes of the § 101 analysis

 and the other asserted claims of the ’210 Patent are likewise patent-eligible.

 B. The ’561 Patent

         The ‘561 Patent, is entitled “Firewall for Real-Time Internet Applications.” Metaswitch

 represents that “[a]ll of the independent claims contain limitations substantially similar to

 independent claim 12.” (Dkt. No. 255 at 7 n.4). Claim 12 is reproduced here:

         12. A method of protecting a computer network transmitting and receiving
         Internet protocol packets formatted in accordance with a real-time Internet
         protocol, each of said Internet protocol packets being associated with any one of a

                                                    15
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 16 of 18 PageID #: 43898




        signaling channel, a control channel, or a bearer channel, the method comprising
        the steps of:

        i. receiving a stream of Internet protocol packets,

        ii. applying the Internet protocol packets associated with the signaling channel
        and the control channel to an application proxy, and

        iii. applying the Internet protocol packets associated with the bearer channel to a
        packet filter.

        Metaswitch contends that claim 12 of the ’561 Patent is invalid because it is directed to the

 abstract idea of “classifying packets based on their channel (bearer, signaling, or control) and then

 ‘applying’ the packets to one of two abstract components (either an ‘application proxy’ or ‘packet

 filter’) of a firewall.” (Dkt. No. 255 at 24–25). Metaswitch argues that nothing in Claim 12

 transforms this abstract idea into a patent-eligible application because “[e]ach of the recited steps of

 the ’561 Patent merely ‘constitutes general data processing functionality.’” (Id. at 25–27).

 Finally, Metaswitch argues that the claims fail the machine-or-transformation test because “[t]he

 claimed proxy and filter refer to broad ‘classes’ of generic components—not any ‘specific

 component or specific material object.’” (Id. at 27–28).

        Claim 12 is not directed to an abstract idea. Like claim 1 of the ’210 Patent, claim 12 of the

 ’561 Patent attempts to “overcome a problem specifically arising in the realm of computer

 networks.” DDR, 773 F.3d at 1257. The claim recites a specific type of data structure unique to a

 specific class of computer networks (“Internet protocol packets formatted in accordance with a

 real-time Internet protocol”), requires that the packets be associated with one of three types of

 network channels, and requires that the packets be applied to a different firewall component

 depending on packet type. This is not a case in which an abstract idea or mathematical principle

 is carried out on a computer—the recited operations are meaningless outside the context of a

 computer network using specific types of data packets and specific channels defined by


                                                   16
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 17 of 18 PageID #: 43899




 particular protocols. Compare Mayo, 132 S. Ct. at 1301 with DDR, 773 F.3d at 1257; see also

 ’561 Patent at 2:62–3:1 (“[R]eal-time Internet applications are based on real-time Internet

 protocols such as H.323, MGCP, Megaco/H.248 and Session Initiation Protocol (SIP). . . . In

 accordance with the real-time Internet protocols, there exist a combination of signaling channels,

 control channels and bearer channels.”).

        Metaswitch is likewise wrong to characterize “an application proxy” and “a packet filter”

 as inherently abstract components because they refer to “broad ‘types’ or ‘classes’ of firewall

 components and do not require or connote any specific structure.” (Dkt. No. 255 at 24). A

 hypothetical claim limitation directed to “a cup” might encompass an extensive class of objects

 of varying shapes, sizes, materials, and functions (a coffee mug, a champagne flute, a disposable

 paper cup), and thus the word “cup” is abstract in the sense that it spans many different

 structures. But a cup is not an “abstract idea” in the sense meant by Alice, and neither are the

 “application proxy” and “packet filter” components recited in the claims. These components are

 not “building blocks of human ingenuity,” “a method of organizing human activity,” a

 “fundamental truth,” an “idea of itself,” or the like. See Alice, 134 S. Ct. at 2354–56. The

 “application proxy” and “packet filter” terms refer to specific components that have been

 construed to perform specific functions within a network. See (Dkt. No. 310 at 7–13). The fact

 that these components can be implemented in the form of “hardware and/or software” does not

 change their concrete, network-specific nature.

        Even if Claim 12 could be thought of as directed towards an abstract idea (e.g. classifying

 data), the language of the claim recites “significantly more,” rendering it patent eligible. Like

 claim 1 of the ’210 Patent, Claim 12 of the ’561 Patent is implemented in the context of a

 specific, non-generic computer system, and “improve[s] the functioning of the computer itself.”



                                                   17
Case 2:14-cv-00033-JRG Document 408 Filed 01/06/16 Page 18 of 18 PageID #: 43900




 Alice, 134 S. Ct. at 2359. Also like claim 1 of the ’210 Patent, claim 12 of the ’561 Patent passes

 the machine-or-transformation test because at least the “computer network,” the “application

 proxy,” and the “packet filter” are machines that “impose a meaningful limit on the scope of a

 claim” by “play[ing] a significant part in permitting the claimed method to be performed.” SiRF

 Tech., 601 F.3d at 1333. Indeed, these machines are the only reason one would perform the

 claimed method in the first place.

        For the foregoing reasons, Claim 12 of the ’561 Patent is patent-eligible under § 101. The

 Court agrees with Metaswitch that Claim 12 is representative for purposes of the § 101 analysis;

 the other asserted claims of the ’561 Patent are likewise patent-eligible.

 V. CONCLUSION

        For the reasons stated above, summary judgment of no willful infringement

 should be GRANTED. Partial summary judgment of no indirect infringement prior to

 April 14, 2014 should be GRANTED. Partial summary judgment of no indirect

 infringement after April 14, 2014 should be DENIED. Summary judgment of invalidity
 .
 under 35 U.S.C. § 101 should be DENIED.

        A party’s failure to file written objections to the findings, conclusions, and

 recommendations contained in this report by January 9, 2015 shall bar that party from

 de novo review by the district judge of those findings, conclusions, and recommendations

 and, except on grounds of plain error, from appellate review of unobjected-to factual

 findings, and legal conclusions accepted and adopted by the district court. Fed. R. Civ. P.

 72(b)(2); see Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1430 (5th Cir. 1996)

 (en banc).
         SIGNED this 3rd day of January, 2012.
         SIGNED this 6th day of January, 2016.


                                                  18
                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
